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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
     WESTERN DISTRICT OF TENNESSEE WESTERN DIVISION


   M. LA-TROY
   ALEXANDRIA-WILLIAMS,

                              Petitioners,
                V.
                                             No. 2:22-cv-02134-MSN-cgc
   MARK GOINS, individual and official
   capacity As Coordinator of Tennessee
   Elections
   MARY MANCINI, official capacity As                              RECEIVED
   Chairwoman of the Tennessee
   Democratic Party                                                      MAR 2 7 2023
   LINDA PHILLIPS, SHELBY
   COUNTY ELECTION                                                    Wendy R Oliver, Clerk
                                                                        U.S. District Court
   COMMISSIONER,                                                      W.O. OF TN. Memohis
   Steve Cohen,

                              Respon-
   dents.


     RESPONSE TO SHOW CAUSE REPORT AND RECOMMENDATION

Comes now the Plaintiff, pro se but prepared by counsel, and responds to the show
cause report and recommendation for show cause for lack of completed summons in
this case. Plaintiff's initial counsel in this matter, Paul Robinson, did not deliver on
his promise to serve parties and due to the nature of the political power and influence
in this case, Plaintiff has struggled to obtain counsel to move forward. Plaintiff has
retained the services of attorney John M. Drake who is right now working to get
admitted to the Western District of Tennessee, and has run into some roadblocks that
will be discussed below but is confident can shortly be overcome. In support of this
response, Plaintiff avers the following:
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  1. Plaintiff's former attorney Paul Robinson promised judge Norris in front of

     Plaintiff that he was going to serve the defendants and Plaintiff paid him to but
     he failed to do so. (Exhibit 1: Affidavit of M. Latroy Alexandria-Williams)

  2. Plaintiff had retained the assistance of attorney John Tennyson to handle this
     matter but, due to factors in another case that had nothing to do with Plaintiff,
     Mr. Tennyson was suspended and ultimately disbarred. (Exhibit 1)

  3. Plaintiff looked to have attorney Julian Bolton handle the matter but his health
     declined to the point that he couldn't take the case. (Exhibit 1)

  4. Attorney John Drake agreed to take the case but his license was under suspension
     until September 2022. (Exhibit 2: Affidavit John Drake)

  5. As a condition of his reinstatement, Mr. Drake is required to work under the
     supervision of his mentor Chris Bellamy. (Exhibit 2)

  6. Mr. Bellamy is able to sign off on Mr. Drake to be admitted to the Western
     District but he is requiring Mr. Drake to have his IOLTA account set up first.
     (Exhibit 2)

  7. Mr. Drake has had difficulty with this because the banks have been confused
     over the fact that he lives in Alabama but his practice is in Tennessee. (Exhibit 2)

  8. Mr. Drake has now set up the IOLTA and expects to have his application for
     admission to the Western District submitted within 24 hours.


WHEREFORE Plaintiff prays this Honorable Court not dismiss his case but allow it
to go forward with new counsel.




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                                                           M. LaTroy Williams
                                                           Prepared By Counsel
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                              Certificate Of Service
The undersigned hereby certifies that on March 27, 2023, the foregoing document was
served on all parties or their counsel of record through the CM/ECF system if they are
registered users or, if they are not, by placing a true and correct copy in the United
States mail, postage prepaid, to their address of record.




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